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                                                       The Honorable Barbara J. Rothstein
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                          UNITED STATES DISTRICT COURT
11                   WESTERN DISTRICT OF WASHINGTON - SEATTLE

12
      RICARDO SALOM, CATHERINE                  Case No. 2:24-cv-00444-BJR
13    PALAZZO as assignee for Ruben Palazzo,
14    and PETER HACKINEN, on their own
      behalf and on behalf of other similarly
15    situated persons,                         REPLY IN SUPPORT OF PLAINTIFFS’
                                                MOTION TO SUBSTITUTE AND
16                   Plaintiffs,                REFORM CASE CAPTION
17
                     vs.
18
      NATIONSTAR MORTGAGE LLC
19

20                   Defendant.
21

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     REPLY IN SUPPORT OF PLAINTIFFS’                          DEVLIN LAW FIRM LLC
     MOTION TO SUBSTITUTE AND                                 1526 Gilpin Avenue
     REFORM CASE CAPTION                                      Wilmington, DE 19806
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 2           Ricardo Salom assigned his individual claims to the two remaining Plaintiffs to serve in
 3   his place in this action “due to his health issues.” Dkt. 94 at Page 2. See also Dkt. 94-1 at ECF
 4   Page 2 (“Salom makes this assignment because, for his personal health reasons, he is unable to
 5   participate further as a named party in this action but wishes for Catherine Palazzo and Peter
 6   Hackinen to continue to pursue the action on his behalf and also on behalf of other current and
 7   former Mr. Cooper borrowers…”).
 8           As explained by one court in similar circumstances, “Plaintiff's claims remain live. [He]
 9   simply seeks substitution of a new lead plaintiff because of [his] deteriorating health. No court
10   has denied amendment under such circumstances.” Wilson v. Quest Diagnostics Inc., No. CV
11   18-11960 (WJM), 2020 WL 401814, at *2 (D.N.J. Jan. 24, 2020)(emphasis added)(pronouns
12   changed to apply to this case). Cf. Aguilar v. Boulder Brands, Inc., No. 3:12-CV-01862-BTM,
13   2014 WL 4352169, at *8 (S.D. Cal. Sept. 2, 2014)(“…it is clear that the issues in this case remain
14   alive. Ms. Aguilar has not settled her dispute with Defendants; she merely seeks to join the
15   putative class and not serve as its representative due to health issues. There is still a very real case
16   or controversy sufficient to support federal jurisdiction for the brief interim between Ms. Aguilar's
17   withdrawal and Ms. Mitchell's substitution”).
18           Here, however, Nationstar ignores Salom’s health condition and opposes his withdrawal
19   as a named party and his assignment to the remaining plaintiffs for the apparent need to continue
20   to harass and attempt to intimidate him for no legitimate purpose.1 Nationstar claims Washington
21
     1       Salom was already deposed by Nationstar who knowingly and intentionally sought
22
     discovery from him well beyond the scope of Phase 1 discovery and without leave of the Court
23   to do so. See generally Exhibit 4, Salom Dep at 11:12-14:23, 18:1-8, 22:20-23:15, 26:1-2; 27:60-
     29:8, 41:5-17; 55:3-56:17, 58:3-64:20 (as amended by errata). During the court of that deposition,
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     Nationstar’s counsel knowingly chose to ignore the objections of Mr. Salom’s counsel and
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 1   law on assignments governs the Maryland law claims assigned by Salom, but does not explain

 2   how Washington law would apply to Maryland law claims. Opp. at 3-6. Next, Nationstar,

 3   without any basis to do so, suggests Salom and other plaintiffs are practicing champerty (and by

 4   implication suggest that Ms. Salom’s health is not the actual motivating factor). Opp. at 6. Next,

 5   after having previously settled another junk fee case with the assignee of the original named

 6   plaintiff in a court-approved settlement, Nationstar claims (even though it is judicially estopped

 7   from doing so) that no assignee may qualify as a named representative and have any substantive

 8   rights to pursue as an assignee. Opp. at 7-8.

 9          Salom had a former loan with Nationstar d/b/a Mr. Cooper, which he satisfied and paid

10   off when he sold his former home in Maryland. As part of that transaction, he paid a junk fee

11   demanded by Nationstar related to his request for the delivery of a payoff statement. AC at ¶¶

12   24, 44, 49, 51, 75-91. Cf. Dkt. 35-6 (indicating “TOTAL PAYOFF AMOUNT” to include

13   “Expedited Delivery Fee $25.00”)(emphasis in original). Plaintiff Catherine Palazzo (and her

14   husband) are residents of Maryland and also paid the same junk fee. AC at ¶¶ 2-3, 25, 44, 49,

15   51, 92-112; Cf. Dkt. 35-8 ((indicating “TOTAL PAYOFF AMOUNT” to include “Expedited

16   Delivery Fee $25.00”)(emphasis in original)). Both Salom and Palazzo assert claims under

17   Maryland law. AC at ¶¶ 160-174 (unjust enrichment)2 and ¶¶ 203-220 (Maryland statutory

18   claims (see e.g. ¶¶ 205-211 specifically).
19          By the substitution of the remaining Plaintiffs (i.e., Palazzo and Hackinen) for Salom’s

20   individual claims asserted in this action, no additional claims or counts are proposed to be asserted

21   by the Plaintiffs since the same claims asserted by Salom are already pending before the Court.

22
     intentionally speak to him directly to improperly threaten and intimidate Salom all with the
23   knowledge that the Court had never permitted Nationstar the right to make the inquiries demanded
     by it. See e.g. Id. at (as amended by errata) 27:6-15, 62:11-64-4. (Plaintiffs continue Exhibit
24   Numbering from where they left off on their Motion).
25
     2      Plaintiff Hackinen also joins in on the unjust enrichment claims. AC at ¶¶ 160-174.
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 1   Maryland law, which applies to Salom’s claims asserted in the Amended Complaint, has long

 2   recognized the right to assign claims just like Salom has done here. See Mot. at 4-5. And given

 3   the circumstances related to Salom’s health, substitution and recognition of Salom’s assignment

 4   should be approved here. Wilson, 2020 WL 401814, at *2; Aguilar, 2014 WL 4352169, at *8.

 5   See also Bates v. Leprino Foods Co., No. 220CV00700AWIBAM, 2022 WL 3371584, at *3 (E.D.

 6   Cal. Aug. 16, 2022)(collecting cases in the Ninth Circuit which have granted pre-certification

 7   motions to substitute putative class representatives); Fife v. Sci. Games Corp., No. 2:18-CV-

 8   00565-RBL, 2020 WL 4933959, at *2 (W.D. Wash. Aug. 24, 2020)(approving substation and

 9   agreeing with standards in Aguilar); Castillo v. United Rentals (N. Am.), Inc., No. C17-1573JLR,

10   2018 WL 3429936, at *3 (W.D. Wash. July 16, 2018)(same).

11           A.      Nationstar’s Objection to having to Face an Assignee for its Wrongful Conduct
                     is Without Merit
12
             In complex class litigation, it is not uncommon that the need to substitute a named
13
     representative from time to time arises for any number of reasons. It is also commonplace that
14
     assignees may stand in the shoes of their assignors and pursue claims the assignors could have
15
     otherwise pursued. “[A]an assignee generally has the same rights and responsibilities as its
16
     assignor – no more, no less.” Nationstar Mortg. LLC v. Kemp, 258 A.3d 296, 301 (2021). Cf.
17
     Sprint Commc'ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 286 (2008)(“And within the past
18
     decade we have expressly held that an assignee can sue based on his assignor's injuries”); Puget
19
     Sound Nat. Bank v. State Dep't of Revenue, 868 P.2d 127, 132 (1994)(holding “an assignment
20
     carries with it the rights and liabilities as identified in the assigned contract, but also all applicable
21
     statutory rights and liabilities. To hold otherwise would be contrary to the rule that the assignee
22
     acquires whatever rights the assignor possessed prior to the assignment”). The Ninth Circuit has
23
     also recognized the standing of plaintiffs to pursue actions that may have been accrued by their
24
     predecessors. Cf. In re Century Aluminum Co. Sec. Litig., 729 F.3d 1104, 1106 (9th Cir.
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 1   2013)(“Plaintiffs need not have purchased shares in the offering made under the misleading

 2   registration statement; those who purchased shares in the aftermarket have standing to sue

 3   provided they can trace their shares back to the relevant offering”).

 4          Nationstar knows that assignees in cases just like this action involving Salom’s

 5   assignment and substitution are common.3 In fact, it recently agreed to a class action settlement

 6   in Maryland state court with an assignee of the original named plaintiff. See Mot. at FN 1.

 7   Specifically, upon remand of Kemp, 258 A.3d 296, from the Maryland Supreme Court to the

 8   Circuit Court for Montgomery County, Maryland the original named plaintiff assigned her claims

 9   to her friend Barbra Clair. See Exhibit 5, Class Action Settlement & Individual Settlement

10   Agreement and Release at Caption. Introduction (Page 1), and ¶ 3 (definitions). Nationstar

11   benefited from that assignment and later settlement by obtaining a class-wide release (not

12   covering the claims in this action but governing a different junk fee). Id. at ¶ 37 (release governing

13   the Parties, which includes the Defendant (i.e., Nationstar) at ¶¶ 11, 22). That agreement resulted

14   in a court-approved settlement. Ex. 6, Order Granting Final Approval of the Clair-Kemp v.

15   Nationstar Settlement (i.e. Ex. 5).4

16          The Ninth Circuit has recognized “[t]he doctrine of judicial estoppel…[which] was

17   developed to prevent litigants from ‘playing fast and loose’ with the courts by taking one position,

18   gaining advantage from that position, and then seeking a second advantage by later taking an
19   incompatible position” applies to Nationstar’s core argument. United Nat. Ins. Co. v. Spectrum

20   Worldwide, Inc., 555 F.3d 772, 778–79 (9th Cir. 2009). Judicial Estoppel also applies not just to

21   3       Nationstar Mortg. LLC v. Safari Homeowners Ass'n, No. 2:16-CV-02542-RFB-DJA,
22   2024 WL 4349449, at *8 (D. Nev. Sept. 30, 2024)(“The United States Supreme Court has held
     that an assignee of a claim can bring suit. Sprint Communs. Co., L.P. v. APCC Servs., 554 U.S.
23   269, 286 (2008)”).
24   4
            Having been provided copies of these papers filed in the Maryland state court documents
25   confirming Nationstar’s prior views, the Court shall take judicial notice. Fed. R. Evid. 201.

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 1   inconsistent factual situations but also serves to “prevent[ ] a party from asserting a claim in a

 2   legal proceeding that is inconsistent” with a previous claim….We've applied the doctrine to

 3   prevent a party from making a legal assertion that contradicts its earlier legal assertion. Wagner

 4   v. Prof'l Eng'rs in Cal. Gov't, 354 F.3d 1036, 1044 (9th Cir.2004).” Baughman v. Walt Disney

 5   World Co., 685 F.3d 1131, 1133 (9th Cir. 2012) (cleaned up).

 6          In Baughmam, the plaintiff claimed she was unaware of non-sworn statements made by

 7   her attorneys in prior litigation, which led to settlements that were materially inconsistent with

 8   statements in the pending action. The Ninth Circuit rejected this argument against applying the

 9   judicial estoppel doctrine, explaining, “[s]o long as those judgments or settlements stand,

10   Baughman is bound by the representation she made during the course of the litigation.” Id. at

11   1134. For example, “[w]hen a party settles a case involving false allegations or claims, the court

12   is deemed to have been misled. This is because it's the coercive power of the court—the judgment

13   it might render if the case is litigated to its conclusion—that's the driving force behind such

14   settlements.” Id.

15          The Ninth Circuit recently reaffirmed the three-factor test as to whether or not to apply

16   judicial estoppel to bar a party’s position and contrary position to a position formally taken by

17   it:
            The Supreme Court has set out three factors to guide courts in applying the doctrine.
18          First, a “party's later position must be ‘clearly inconsistent’ with its earlier
            position.” … Second, the court should consider “whether the party has succeeded
19          in persuading a court to accept that party's earlier position, so that judicial
            acceptance of an inconsistent position in a later proceeding would create ‘the
20          perception that either the first or the second court was misled.’ ” … And third, the
            court should determine “whether the party seeking to assert an inconsistent position
21          would derive an unfair advantage or impose an unfair detriment on the opposing
            party if not estopped.” ....
22
     Consumer Fin. Prot. Bureau v. CashCall, Inc., No. 23-55259, --- F.4th ---, 2025 WL 1194987,
23
     at *6 (9th Cir. Apr. 24, 2025)(cleaned up).
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 1          Here, all three factors bar Nationstar’s argument that Salom has no right to assign his

 2   claims. First, in Kemp-Claros, while represented by counsel, Nationstar took the position that it

 3   could settle class-wide claims brought in part by an assignee (i.e., Clair)_ of the original named

 4   plaintiff (i.e., Kemp) and received a court-approved order approving that settlement and release.

 5   Ex. 6, Order Granting Final Approval of the Clair-Kemp v. Nationstar Settlement (i.e., Ex. 5).

 6   So, Nationstar’s position in the Clair-Kemp settlement succeeded in obtaining a settlement of the

 7   class claim against it in that action. Id. Accepting Nationstar’s argument here about whether

 8   Salom had a right to assign his claims to be pursued by Hackinen and Palazzo would mean either

 9   its present argument on this topic is false and misleading or its prior argument to the Maryland

10   state court was false and misleading. Baughman, 685 F.3d at 1133. “So long as [the prior Kemp-

11   Clair class action settlement and judgment approving it] stand[s], [Nationstar] is bound by the

12   representation[s] [it] made during the course of the litigation.” Id. at 1134 (substituting Nationstar

13   for the party name in Baughman. who was estopped). Cf. Wagner v. Pro. Eng'rs in California

14   Gov't, 354 F.3d 1036, 1044 (9th Cir. 2004)(“Judicial estoppel applies to a party's stated position

15   whether it is an expression of intention, a statement of fact, or a legal assertion”).

16          Salom only asserted Maryland claims in this action because Maryland law applied to his

17   transaction at issue in this case, since the illegal fees charged and collected by Nationstar from

18   Salom happened in Maryland.5 Cf. Lab'y Corp. of Am. v. Hood, 911 A.2d 841, 845
19   (2006)(“Maryland continues to adhere generally to the lex loci delicti principle in tort cases.

20   Under that approach, where the events giving rise to a tort action occur in more than one State,

21

22   5       The Maryland Consumer Debt Collection Act recognizes a claim arising under it survives
     to a protected consumer’s estate. MD. CODE ANN., COM. LAW § 14-201(d). The same is true
23   under the Maryland Consumer Protection Act. MD. CODE ANN., COM. LAW § 13-101(h). Of note
24   Salom did not raise a claim in this action under the Fair Debt Collection Practices Act (Mr.
     Hackinen does so) so there is no need to determine whether an FDCPA claim is assignable or not
25   since Salom never asserted the claim.

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 1   we apply the law of the State where the injury—the last event required to constitute the tort—

 2   occurred”). See also Dkt. 24; 35-6.      Nationstar does not dispute the authorities in Plaintiffs’

 3   Motion that Maryland law permits a party to assign his claims. Mot. at 4-5.6 See generally

 4   Opposition (not addressing the Maryland authorities).

 5          Further, as a non-party to the assignment (Dkt. 94-1), Nationstar has no standing to object

 6   to it. Cf. Henry v. Aurora Loan Servs., LLC, No. CV TDC-14-1344, 2016 WL 1248672, at *4

 7   (D. Md. Mar. 25, 2016)(holding a non-party to the assignment “lacks standing to challenge its

 8   validity”); Smallwood v. Nationstar Mortg., LLC, No. CV PX-16-4008, 2017 WL 6527251, at *5

 9   (D. Md. Dec. 21, 2017)(same). Compare Quattlebaum v. Bank of Am., N.A., No. CIV.A. TDC-

10   14-2688, 2015 WL 1085707, at *4 (D. Md. Mar. 10, 2015)(“What the lender chooses to do with

11   that entitlement-whether to keep it or to sell it to another financial institution-is a decision

12   Quattlebaum has no standing to challenge. Wolf v. Fed Nat'l Mortg. Ass'n, 512 F. App'x 336, 342

13   (4th Cir.2013) (per curiam) (holding that “a mortgagor lacks standing to challenge the propriety

14   of the assignment of the note”).

15          B.      There is No Legitimate Basis for Nationstar to Assert the Assignment of Valid
                    Legal Claims Amount to Champerty
16
            Nationstar’s entire litigation strategy in this action seems to be to do and say anything to
17
     preserve its fee churning conduct at issue in this action even though it has judicially admitted to
18
19
     6        Although Washington law does not govern Salom’s claims, Washington law also
20
     recognizes that tort claims may be freely assigned. Kommavongsa v. Haskell, 299, 67 P.3d 1068,
21   1074 (2003)(recognizing that legal malpractice claims can be assigned and the former plaintiff
     (client) no longer has any “control over the litigation is lost…[including the right to object to an]
22   attorney's right to defend by revealing client information” to the assigned legal malpractice
     claim). Cf. Cooper v. Runnels, 291 P.2d 657, 658 (1955)(“…a tort claim for damage to property
23   is assignable under the law of this state”); Carlile v. Harbour Homes, Inc., 194 P.3d 280, 287
24   (2008)(“The traditional test for whether a cause of action is assignable is whether the claim would
     survive to the personal representative of the assignor upon death”).
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 1   the state court in Maryland it knows the fees at issue here are illegal and not allowed since they

 2   are not expressly authorized by any law or contract. Compare Dkt. 103, Plaintiffs’ Mot. to

 3   Disregard. Now, to deflect from its own admissions and wrongful conduct, Nationstar claims

 4   without any legitimate basis that Plaintiffs and Plaintiffs’ counsel who oppose its fee churning

 5   practice are employing champerty. Opp. at 6. The argument is simply bogus.

 6           Both Palazzo and Hackinen paid the same illegal fee that Salom paid. So their individual

 7   claims are aligned and in accord with Salom’s claims. Even where champerty may apply, “the

 8   consistent trend across the country is toward limiting, not expanding, champerty's reach.” Del

 9   Webb Communities, Inc. v. Partington, 652 F.3d 1145, 1156 (9th Cir. 2011).                  See also

10   Kommavongsa, 67 P.3d at 1078 (rejecting claims of champerty and recognizing that “[p]ersonal

11   injury claims have been assignable in Washington for years, and we have not seen a lucrative

12   business arise in the factoring of those claims”).

13           Because of his personal health issues (Dkt. 94 at Page 2; Dkt. 94-1 at ECF Page 2), Salom

14   assigned his claims to the remaining Plaintiffs to pursue on their behalf and also on behalf of

15   others like them (as permitted by the Court) to stop Nationstar’s illegal, fee-harvesting practice

16   subject to this action. That is not champerty on its face and Nationstar’s effort to claim it so

17   without any good basis only demonstrates it will simply continue to say and do anything to

18   preserve its illegal conduct to gain a competitive advantage over its competitors (who actually
19   follow the law and do not change this junk fee [Dkt. 102-10]) and also to realize millions of

20   dollars in fees it is not entitled to collect.

21           C.      Salom’s Individual Claims Are Assignable, Even Without Class Certification
22           Nationstar also argues that Salom’s assignment is improper because, as a non-certified
23   class representative, he has no “right” to assign class claims. This misstates both the nature and
24   effect of the assignment. While the assignment does include references to “others similarly
25   situated,” it does not, and cannot, assign any procedural right to act as a class representative under
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 1   Rule 23. That is a role which only the Court may confer upon finding that the Rule 23 elements

 2   are satisfied when the Plaintiffs renew their motion for class certification (which that have

 3   requested leave of the Court to do—see e.g. Dkt. 106 at Pages 6-7, 25). What Salom assigned are

 4   his substantive claims—for restitution, damages, and equitable relief—arising from the same

 5   unlawful conduct already being challenged by the remaining Plaintiffs. These claims arise under

 6   Maryland law, which “whether the fee that was charged the named Plaintiffs was authorized by

 7   the mortgage contracts, federal or state law, and industry standards.” Dkt. No. 88 at 1. The Court

 8   has not authorized broad, merits-based or background questioning beyond that defined scope.

 9   Yet, Nationstar intentionally and knowingly sought to ignore the Court’s prior Order. See FN 1

10   supra. If Nationstar believed it needed more discovery from Mr. Salom, it should have raised

11   that issue three months ago with the Court when discovery was open and it had first sought its

12   improper questions. Having failed to do so, it should not now be permitted to use a routine

13   substitution motion as a backdoor to reopen or expand discovery it waived and based on false

14   innuendo. Courts routinely reject such tactics. See, e.g., Aguilar v. Boulder Brands, Inc., 2014

15   WL 4352169, at *8 (S.D. Cal. Sept. 2, 2014) (rejecting request to delay substitution based on

16   alleged need for additional discovery).

17          Finally, as shown, Salom’s individual claims are substantively aligned with those already

18   being prosecuted by the remaining Plaintiffs. The Court can evaluate those claims as they stand
19   now without delay. The Motion to Substitute should therefore be granted without conditioning it

20   on further discovery.

21          D.      Conclusion
22          Wherefore, for good cause shown and without prejudice to Defendant Nationstar,
23   Plaintiffs request the relief requested by the Plaintiffs’ Motion to Substitute and Reform Case
24   Caption.
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 1   DATED May 19, 2025.
 2
           DEVLIN LAW FIRM, LLC.                 CONSUMER LAW CENTER, LLC
 3
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 5
          PMB 398                                Silver Spring, MD 20910
 6        Seattle, WA 98043-2222                 phillip@marylandconsumer.com
          chenry@devlinlawfirm.com               Counsel for Plaintiffs
 7        Counsel for Plaintiffs
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